Case 2:OO-CV-02765-.]DB Document 85 Filed 08/30/05 Page 1 of 14 Page|D 225

 

 

F|'LED §§ Q'
IN 'I'HE UNITED sTATEs DISTRICT COURT Df‘.
FOR THE wESTERN DISTRICT oF TENNESSEE 05)‘.;,_=3 30 p
wEsTERN DIVISION H 3- 33
],HG_HH°‘]_F §§
dE,c»/Ub~rl f 13
GAILE K. owENs, b‘/§)Q‘r:- m ig §URT

Petitioner,
v. No. 2:00-2765-Br
EARLINE GUIDA , WARDEJN ,

Tennessee Prison For Women,

Respondent.

)
)
)
)
)
)
)
)
)
)
)
)
)
)

 

ORDER DENYING MOTION TO ALTER OR AMEND JUDGMENT

 

This matter is before the Court pursuant to Petitioner Gaile
Owens' Rule 59, Fed. R. Civ. P., motion to alter or amend this
Court's prior judgment denying her habeas relief on various claims
that her constitutional rights were violated in the conviction and
sentence of death for her role in the murder of her husband, Ronald
Owens. Petitioner asserts two grounds in support of her motion:
l) that the Court erred in granting summary judgment for the
Respondent, Warden Earline Guida, on Petitioner’s claim that her
due process rights, pursuant to Bradv v. Maerand, 373 U.S. 83
(1963), were violated by the prosecution’s failure to disclose
certain cards and notes in its possession evidencing an affair
between the victim and his mistress, Gala Scott; and 2) that the

Court erred in its prior finding that Petitioner had procedurally

This document en§sred on the docket Sheeti r1 complia. nice

wm ama se and/or 79(3) FHCP on 5" 51-' 05 @

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 2 of 14 Page|D 226

defaulted on the clainlthat her death sentence was unconstitutional
because her agreement to ;plead. guilty' in exchange for a life
sentence was thwarted by her co-defendant.

A motion pursuant to Rule 59 is not an opportunity to rew

 

litigate a case. Sault Ste. Marie Tribe of Chippewa lndians v.
Engler, 146 F.3d 367, 374 (6th Cir. 1998). Rather, a motion to

alter or amend judgment should be granted only if there is a clear
error of law, newly discovered evidence, an intervening change in
controlling law, or to prevent a manifest injustice. GenCorp[ Inc.
v. American Intern. Underwriters, 178 F.Bd 804, 834 (6th Cir.
l999)(citations omitted). Proceeding under these standards, the
Court will evaluate each of Petitioner’s arguments in turn.
I. THE COURT ERRED IN DENYING RELIEF ON PETITIONER'S §B§QX CLAIM
Owens claims that the Court erred in denying her habeas relief
on her due process claim that the prosecution failed to disclose
evidence consisting of letters belonging to the victim that were
apparently written by his mistress. In granting summary judgment
in favor of the Respondent, the Court ruled that it need not
determine whether the suppressed materials were truly exculpatory
because Petitioner had failed to show prejudice resulting from the
suppression. _§e Order Granting In Part Respondent's First Motion
For Partial Summary' Judgment, dkt. no. 78 at 57-58 .(June 23,
2005)(“Owens Order II”). The Court held that, because Petitioner

and her counsel knew of the victim's extramarital affairs prior to

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 3 of 14 Page|D 227

trial, she could have introduced, through the testimony of Gala
Scott, evidence of the affair if Owens believed such evidence was
truly exculpatory. Accordingly, the Court held that Petitioner had
not demonstrated a reasonable probability that her sentence would
have been different had the cards and notes been produced.

In her Rule 59 motion, Petitioner’s response to the Court's
holding is to essentially reassert her general claim that
suppression of the letters was unconstitutional because the
evidence arguably exculpated her from the death penalty and that
Petitioner should not have been made to settle for the testimony of
Scott where her letters were in the possession of the prosecution.
In support of her claim that the suppression of the materials
prejudiced her defense at sentencing, Petitioner cites a number of
cases which, she argues, demonstrate that, when one spouse is
responsible for the death of the other, proof of infidelity on the
part of the deceased spouse has sufficiently mitigated the
culpability of the offending spouse such that a sentence of death
was not appropriate. The Court finds these cases inapposite. Most
of the cited cases deal with killings resulting from sudden and
excited passions on the part of the defendant»spouse, usually owing
to confrontations with the victim-spouse while engaged in acts of

adultery, confrontations with the paramour of the adulterous

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 4 of 14 Page|D 228

spouse, or after heated argument with the spouse.l The other cited
cases are not clearly analogous to this case.2 It bears noting
that, in the cited Thornton case, the Tennessee Supreme Court set
aside the defendant’s first-degree murder conviction in favor of a
voluntary manslaughter conviction because “the necessary elements
of malice and premeditation were not demonstrated” by the
defendant’s actions in shooting his wife’s paramour while the
couple were engaged in sex. Thornton, 730 S.W.2d at 315. lt is
uncontested that Petitioner acted with malice and premeditation in

procuring her husband's murder. Indeedr none of the cases cited by

 

1 See State v. Thornton, 730 S.W.2d 309 (Tenn. 1987)(husband who

killed wife's paramour provoked by finding wife and paramour engaged in sexual
acts at defendant's home); Whitsett v. State, 299 S.W.2d 2, 6 (Tenn. 1957)
(defendant happened upon wife's lover by chance and thereafter pursued and
shot victim while acting under “intense and adequately provoked passion");
Drye v. Stater 184 S.W.Zd 10 (Tenn. l944)(defendant, who searched for and
killed wife after she told him in a phone conversation that she would date
anyone she pleased, was acting under sufficiently provoked passion triggered
by the phone call); State v. Belcher, 2001 WL 1191392 (Tenn. Crim. App. 2001)
(defendant learned of affair and shortly thereafter was confronted by spouse
and spouse's lover, and argument among the three precipitated the killing of
the spouse's lover}; and People v. Buggs, 493 N.E.2d 332, 336-337 (Ill. 1986]
(defendant's death sentence for murder of wife vacated because it was
mitigated by significant provocation where murder occurred in a rage due to
argument with spouse which included the revelation that defendant was not the
father of the family’s children).

2 The mere fact that there have been spouses who have not received
the death penalty for the killings they perpetrated does not advance
Petitioner's argument. In one cited case, State v. Reagan, 2004 WL 1114588,
pgs. 8-10 (Tenn. Crim. App. 2004), the court upheld defendant's conviction for
first-degree premeditated murder and in no way discussed any mitigation of
defendant's culpability based on defendant‘s suspicion that his wife was
committing adultery. In another case, State v. McCarver, 2003 WL 22087476,
pgs. 17-20 (Tenn. Crim. App. 2003), the prosecution opted not to seek the
death penalty against the defendant, for reasons not in the record, and the
court again upheld the defendant's conviction for first-degree premeditated
murder. Finally, in People v. Carlson, 404 N.E.2d 233, 244-245 (Ill. 1980)r
the defendant's death sentence for murdering a police officer, purportedly
while attempting to commit suicide, was vacated because defendant was acting
under extreme emotional disturbance due to the failure of his marriager and,
importantly, the trial court had improperly refused to consider in mitigation
the defendant's clean criminal record prior to the murder.

4

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 5 of 14 Page|D 229

Petitioner‘ as examples lending support to her clainl that her
husband’s infidelity should mitigate her punishment are reflective
of the protracted deliberation and repeated effort exhibited by the
Petitioner in soliciting her husband's murder. The extent of
Petitioner’s premeditation and her concerted efforts over a period
of months to solicit the eventual killer, as well as helping to
plan the actual murder, remove her from the class of cases where
the death penalty has been held inappropriate due to the killer's
visceral emotional reaction to a spouse's infidelity. Petitioner's
case is therefore more closely analogized to cases where a spouse
has received the death penalty for his or her role in a murder-for-
hire scheme resulting in the death of their spouse.3

Petitioner asserts that the letters and cards suppressed by
the prosecution are sexually explicit and that they would have
“sickened” the jury because they “conclusively proved the reason
for Gaile owens’ actions.” Motion to Alter or Amend Judgment,
Owens v. Guida, No. 00-2765, dkt. no. 81 at 4-5. In her habeas
petition, Owens notes that the police who discovered the writings
described them as “juvenilistic love notes.” Though Petitioner
would have the Court believe that the notes are so powerfully
exculpatory as to punishment that a juror would find the evidence
sufficient to mitigate the compelling proof supporting the

aggravating factors found by the jury, she only describes the

 

3 see, e.q., state v. stephenson, 2005 wL 551938 (Tenn. crim.

App. 2005) and State v. Stephens, 78 S.W.3d 817 (Tenn. 2002) among others.

5

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 6 of 14 Page|D 230

letters to the extent of referring to “pet names” Scott used in
composing the cards and notes. lt defies reason to suggest that
Petitioner would have her husband killed due to his infidelity, and
then abandon presenting any evidence of the adultery in mitigation
of her punishment, even without the victim's love letters from his
mistress. Nonethelessr with the proof presented against Owens at
trial, Petitioner has not shown that, had the notes been disclosed
to her prior to trial, there was a reasonable probability that her
sentence would have been different, or that the suppression of the
cards and notes “undermine[dl confidence in the outcome of the
trial." U.s. v. sagiey, 473 U.s. 667, 678 (1985); §§§ §i§g ;yi§§
v. Whitley, 514 U.S. 419, 434 (1995}. Accordingly, Petitioner has
failed to establish that this Court erred in its previous ruling
that she suffered no prejudice due to the suppression of the
letters, as is required iii obtaining relief cni a grady claim.
Strickler v. Greene, 527 U.S. 263, 280-82 (1999).

II. THE COURT ERRED IN FIN'DING PETITIONER HAD PROCEDURALLY
DEFAULTED ON HER CLAIM THAT HER SENTENCE WAS UNCONSTITUTIONAL
BECAUSE PETITIONER'S AGREEMENT TO PLEAD TO A LIFE SENTENCE WAS
THWARTED BY HER CO-DEFEN'DA.NT

owens claims that her death sentence was arbitrary, and thus
violated the Eighth and Fourteenth Amendments, because she was
forced to go to trial due to her co-defendant’s rejection of a plea
agreement which she desired to accept. Thus, she argues, because
her “death sentence is a product of something over which she had no

control, it is arbitrary." Response to Respondent’s Motion for

6

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 7 of 14 Page|D 231

Summary Judgment, Owens v. Guida, no. 00-2765, dkt. no. 47 at 67.
The Court granted Respondent’s motion for summary judgment because
the Petitioner had procedurally defaulted the claim by not fairly
presenting it in state court proceedings. §ee Owens Order II, dkt.
no. 78 at 108-112. In her motion to alter or amend, Petitioner
asserts two errors by the Court in its finding of procedural
default. First, Petitioner claims that this Court's holding cannot
be reconciled with its previous determination regarding the effect
of the Sixth Circuit’s decision in Cone v. Bell, 359 F.3d 785 (6th
Cir. 2004), which held that the Tennessee Supreme Court implicitly
considers, in its statutory mandatory review process, any claim
that a sentence of death was imposed arbitrarily. Second, Owens
maintains that she did fairly present her claim in the state courts
because, in arguing on direct appeal that the trial court should
have granted a motion to sever her case from her co-defendant’s,
her appellate brief relied on a state case which cited Brady v.
United States, 397 U.S. 742 (1970). The Court will address each of
Petitioner's allegations of error in turn.
A. THE EFFECT OF M ON PETITIONER’S ARBITRARINESS CLAIM

As noted above, in QQQQ the Sixth Circuit held that the
Tennessee Supreme Court is required to review all death sentences
for arbitrary imposition, and, therefore, the state court
implicitly reviews claims related to such arbitrary imposition

whether or not they are actually presented on appeal. Cone, 359

 

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 8 of 14 Page|D 232

F.3d at 791-794. Though ggne was reversed on appeal, see §§ll_yg
ane, 125 S.Ct. 847 (2005}(per curiam), the Supreme Court did not
address the Sixth Circuit's holding regarding implicit review,
instead deciding that the Sixth Circuit was incorrect in finding
that the Tennessee Supreme Court failed to apply a constitutional
narrowing construction to the aggravating factor which Cone claimed
was unconstitutionally vague and therefore led to arbitrary
imposition of his death sentence. ldg at 853-54. Given the
Supreme Court’s decision not to address the Sixth Circuit’s
implicit review theory, this Court held that the doctrine likely
survived the reversal in an§ and remains in effect. _e§ Order
Granting in Part Respondent’s First Motion for Partial Summary
Judgment and Denying Petitioner's Motion. for Summary7 Judgment
(“Owens Order I”), dkt. no. 77 at 7. Thus, the question is whether
the Tennessee Supreme Court implicitly reviewed Petitioner’s claim
that her death sentence was arbitrarily imposed because she was
denied a conditional plea to a life sentence when her co~defendant
opted to proceed with trial rather than accept the plea agreement.

The Sixth Circuit’s decision in ggge cannot be construed to
reach this contention by Petitioner because, while couched in terms
of arbitrariness, the claim has less to do with arbitrary
imposition of the death penalty than it does with the state's
exercise of well established prosecutorial prerogatives.

Petitioner cites no authority for her assertion that the

Case 2:OO-CV-O2765-.]DB Document 85 Filed 08/30/05 Page 9 of 14 Page|D 233

prosecution’s decision to condition her plea on acceptance of the
plea by her co-defendant constitutes arbitrary imposition of the
death penalty. Rather, she only mentioned Furman v. Georgia, 408
U.S. 238 (1972) and Woodson v. North Carolina, 428 U.S. 280 (1976),
for the general proposition that the Constitution requires that
“capital sentencing must, as much as humanly possible, eliminate
arbitrariness from the imposition of the death penalty.” R. 47 at
67. Howeverr the Constitution's prohibition on arbitrary7 or
capricious imposition of the death penalty is directed primarily at
the unbridled exercise of discretion by the sentencing authority.
In Gregg' v. Georqia, 428 U.S. 153 (1976), the Supreme Court
explained that Furman was implicated when a specific person has
been convicted of a capital offense:

Furman held only that, in order to minimize the risk that

the death penalty would be imposed on a capriciously

selected group of offenders, the decision to impose it

had to be guided by standards so that the sentencing

authority would focus on the particularized circumstances

of the crime and the defendant.
;d;_ at 199. In. §;§gg, the Court rejected the clain\ that a
prosecutor's “unfettered authority to select those persons whom he
wishes to prosecute for a capital offense and to plea bargain with”
violated Furman’s prohibition on arbitrary imposition of a death
sentence. ld; gregg specified that “the decision to impose” the
death sentence must be guided by standards to avoid arbitrariness;

here, the prosecution's decision to offer a plea to Petitioner

contingent on. her co-defendant's acceptance of the same offer

9

Case 2:OO-CV-O2765-.]DB Document 85 Filed O8/30/O5 Page 10 of 14 Page|D 234

cannot be characterized as a decision to impose the death penalty.
That determination was reached unanimously by a jury after due
consideration of aggravating and mitigating evidence presented at
her sentencing hearing. Because Cone was concerned. with the
possible abuse of the sentencing authority's power due to the
jury's consideration of vague instructions, the Sixth Circuit was
careful to recognize this distinction in its discussion of the
circumscription of the implicit review doctrine:

[T]he implicit review doctrine, as we apply it today in

this case, does not foreclose the possibility that other

death penalty defendants may procedurally default on

other constitutional issues not raised on direct appeal.

The language of Tennessee's mandatory' review statute

provides a basis to distinguish between vagueness

challenges and other constitutional claims, since it

requires the Tennessee Supreme Court to look specifically

for sentences “imposed in any arbitrary fashion."
Cone, 359 F.3d at 793. Accordingly, because the prosecution’s
decision to offer a conditional plea agreement to Petitioner is not
a “decision to impose” a death sentence, any perceived
constitutional violation inherent in that decision is not saved
from procedural default under the limited reach of the implicit
review doctrine adopted by the Sixth Circuit in Cone.
B. FAIR PRESENTATION OF THE CLAIM IN THE STATE COURTS

Petitioner asserts that this Court erred in holding that she
had not fairly presented to the state courts her constitutional

claim regarding her inability to plea. Owens insists that, while

on direct appeal, not only did she argue that due process in a

10

Case 2:OO-CV-O2765-.]DB Document 85 Filed O8/30/O5 Page 11 of 14 Page|D 235

capital case required that the trial court sever her case from her
co-defendant's so that she could accept a plea agreement, but she
also cited Seaton v. State, 472 S.W.2d 905 (Tenn. Cr. App. 1971),
a state case which included a citation to Bradv v. United States,
397 U.S. 742 (1970). Thus, Petitioner argues, her constitutional
claim was fairly presented on appeal such that the state court
should have been aware of the federal nature of the claim. In
support of this argumentr Owens relies on Baldwin v. Reese, 541
U.S. 27 (2004), in which the Supreme Court found that the habeas
petitioner had not fairly presented his constitutional claim of
ineffective assistance of appellate counsel in state court, in part
because the state petition “provid[ed] no citation of any case that
might have alerted the court to the alleged federal nature of the
claim.” ;gg at 33. This Court has already held that Petitioner’s
mere invocation of general concepts like due process does not alone
suffice to fairly present an alleged federal claim in the state
courts. _gg Owens Order II at 109-11. Thus, the issue presented
in this motion to alter or amend is whether Petitioner’s citation,
in her brief on direct appeal, of a state case, which included a
reference to a federal court opinion, was sufficient to have
alerted the state courts to the federal nature of the claim she now
seeks to assert in habeas review.

Mere citation.to Seaton on direct appeal could not have fairly

warned the state court that it was considering a federal

11

Case 2:OO-CV-O2765-.]DB Document 85 Filed O8/30/O5 Page 12 of 14 Page|D 236

constitutional claim based on the prosecution’s decision to
condition Petitioner's plea agreement on the acceptance of the
agreement by her co-defendant. First, the citation to §§g;gg in
Petitioner's appellate brief was not in the context of presenting
any legal analysis favoring Petitioner’s argument that the
severance should have been granted. Indeed, Seaton expressly
disfavors granting Petitioner’s motion for severance. Rather, the
citation was given in recounting the general arguments of the
parties at the time the motion was made. _gg Addendum 7 at 7.
Second, despite the citation to Bradv v. United States in Seaton,
the Tennessee appellate decision deals exclusively with state law
regarding a trial judge's considerations in deciding whether to
grant a severance motion. Bradv v. United States is cited in
Seaton only in support of the state court's observation that “plea
bargaining is a valuable tool in expediting the administration of
criminal justice and should be encouraged by the courts in proper
instances.” Seaton, 472 S.W.2d at 906. Because the citation to
the federal case occurs only in the context of supporting a general
policy favored by the courts, and is in no way integral to the
analysis or holding of the case, the reference to Brady was clearly
in dicta. Given all of the above, such citation of a federal case
in Petitioner’s appellate brief is far too attenuated to have
alerted the state court to any alleged federal nature of the claim

it was evaluating.

12

Case 2:OO-CV-O2765-.]DB Document 85 Filed O8/30/O5 Page 13 of 14 Page|D 237

ln sum, the claim on appeal was whether the trial court erred
in refusing to grant Petitioner's severance motion. The state
appellate court could not have known it was considering a federal
claim that a death sentence was imposed arbitrarily because of a
co-defendant's refusal of a conditional plea agreement. This is
made even more apparent because the state case was referenced only
in the context of recounting arguments of the parties at the time
the severance motion was made, and not as part of the substantive
legal argument advanced. in the appellate brief. Accordingly,
Petitioner's argument that the Court erred in finding this claim
procedurally defaulted because she failed to fairly present the
claim in the state courts is without merit.
III. CONCLUSION

For all of the reasons given above, the Court DENIES

Petitioner's motion to alter or amend,

IT IS SO ORDERED this Fday of August 2005.

@~a\

UIEL BREEN
IT D STATES DISTRICT JUDGE

13

 
 

uNlED STATsE IRIC COURT - WSTERN DTRTISIC OF E ESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 85 in
case 2:00-CV-02765 Was distributed by fax, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

Alice B. Lustre

ATTORNEY GENERAL OFFICE
425 5th Avenue North

Nashville, TN 37243--049

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Christopher M. Minton

ASSISTANT FEDERAL PUBLIC DEFENDER
8 l 0 Broadway

Ste. 200

Nashville, TN 37243

Honorable J. Breen
US DISTRICT COURT

